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February 13, 2019


Hon. Sanket J. Bulsara
United States District Court EDNY
225 Cadman Plaza East
Brooklyn, NY 11201


Re: Tuline Jenkins, Adeleke Omole as Administrators For the Estate of Adedji Omole et al Vs
City of New York , et al 18 Cv 1145 (FB) (SJB) Request to Withdraw Cross Motion to lift Stay ,
Dear Judge Bulsara,
Plaintiffs hereby withdraw its cross motion to lift stay of discovery without prejudice.
This is to afford the mediation process the best possibility of success.


Respectfully submitted,
Ira Weinstein
CC: by ecf: Andrew Rauchberg, Thomas Copatrick Paul A Sanders, Kathleen Byrne, Stephen
Kovatis, David MacMain
